Case 2:05-Cr-20048-BBD Document 14 Filed 04/25/05 Page 1 of 2 Page|D 19

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IN THE UNITED STATES DISTRICT cOURT Lzy
FoR THE wESTERN DISTRICT oF TENNESSEE qq; H_
wESTERN DIvISIoN ` “5‘53 fn _

 

UNITED STATES OF AMERICA

 

Plaintiff,

V.

®d»\& Bec\u U@.rr~e~\

Criminal No. 05 - Z¢Oqg-Ml

(60~Day Continuance)

 

 

 

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Defendant{e).

 

REPORT ON FUGITIVE STATUS AND RESETTING

 

Ae indicated by the eignature of counsel for the United
States, through its Aeeistant United States Attorney, this case
remains an active case and there are continuing efforts to locate
the above-referenced fugitive defendant(e). A follow-up report
on efforts to bring the above-referenced fugitive defendant(e)
before the Court will be made on Fridav, June 24, 2005, at 10 30

S..m.

 

SO ORDERED thiS 22nd day Of April, 2005.

QWQ.QQ

JO PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

 

 

 

#*SSj-'Stant United Stat'eé Attorne}#his document entered on the docket aheet `m Compiianc@

With F{ule 55 ann/or 32{b) FRCrP on ¢`032'€§

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sTlC COUR - WESTERN DISTRCT OFTENNESSEE

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This notice confirms a copy of the document docketed as number 14 in
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Honorable Jon McCalla
US DISTRICT COURT

